         Case 1:15-cr-00286-ADA-BAM Document 85 Filed 11/16/15 Page 1 of 7



 1
     Edward M. Robinson, (SB 126244)
 2   LAW OFFICE OF EDWARD M. ROBINSON
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 6

 7

 8   ATTORNEY FOR DEFENDANT ZAID EDOLAT

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10
                       UNITED STATES DISTRICT COURT

11               FOR THE EASTERN DISTRICT OF CALIFORNIA
12

13   UNITED STATES OF AMERICA,         ) No. 1:15-CR-00286-AWI-BAM
                                       )
14
                Plaintiff,             ) MOTION FOR BAIL REVIEW;
15                                     ) PROPOSED STIPULATED
                                       ) CONDITIONS OF RELEASE;
16
         v.                            ) DECLARATION OF EDWARD M.
17                                     ) ROBINSON; EXHIBIT IN SUPPORT;
     ZAID ELODAT,                      ) ORDER
18
                                       )
19                                     ) HEARING DATE: 11/17/2015
                Defendant.             ) TIME: 10:00 a.m.
20                                     ) COURT: Hon. Anthony W. Ishii
21

22
         Defendant Zaid Elodat (“Mr. Elodat”) by and through
     his attorney of record Edward M. Robinson, hereby gives
23
     notice of motion and motion for bail review                 to be set
24
     before this Court on November 17, 2015 at 10:00 a.m.
25
         This    motion   is   based    upon   the   attached    stipulated
26
     terms and conditions of release and the new information to
27

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         Case 1:15-cr-00286-ADA-BAM Document 85 Filed 11/16/15 Page 2 of 7



 1   include the posting of a $20,000.00, cash bond in lieu of
 2   the property bond considered by the parties. (Exhibit “A”)
 3       Furthermore,       counsel      for     Mr.    Elodat      requests
 4   permission   by    this   court    to     appear   telephonically       on
 5   November 17, 2015 at 10:00 a.m.
 6

 7   Dated: November 16, 2015                /s/ Edward M. Robinson
                                             EDWARD M. ROBINSON
 8
                                             Attorney for Defendant
 9                                           ZAID ELODAT
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         Case 1:15-cr-00286-ADA-BAM Document 85 Filed 11/16/15 Page 3 of 7



 1
                    DECLARATION OF EDWARD M. ROBINSON
 2
         I, EDWARD M. ROBINSON, declare:
 3

 4       That I am attorney of record for Zaid Elodat in the
 5
     above referenced matter.
 6
       1. That on October 14, 2015, Mr. Elodat appeared in the
 7

 8       United States District Court – Central District of

 9       California.     At that hearing, Magistrate Charles F.
10
         Eick ordered Mr. Elodat released on a $25,000.00,
11
         unsecured bond.
12

13     2. That The U.S. Attorney’s office for the Eastern
14
         District of California, through Karen A. Escobar
15
         applied to this Court and received a stay of
16

17       Magistrate Judge Eick’s release order pending a
18       hearing in the Eastern District.
19
       3. The parties have agreed that Mr. Elodat, subject to
20

21
         this Court’s order, be released on the special

22       conditions of release attached hereto as Exhibit “A.”
23
         These proposed conditions of release are based upon
24
         Mr. Elodat’s father’s willingness to post $20,000.00
25

26       cash as security. The parties agree that this
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         additional security along with the special conditions
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                                         3
      Case 1:15-cr-00286-ADA-BAM Document 85 Filed 11/16/15 Page 4 of 7


       set forth in Exhibit “A” will ensure Mr. Elodat’s
 1

 2     appearance and protect the public.
 3
     4. Furthermore, counsel for Mr. Elodat has requested
 4
       permission to appear telephonically.
 5

 6

 7     Executed this 16th day of November 2015, in the City of
 8
       Torrance, State of California.
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11     /s EDWARD M. ROBINSON
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          Case 1:15-cr-00286-ADA-BAM Document 85 Filed 11/16/15 Page 5 of 7



 1

 2                                     ORDER
 3
           GOOD CAUSE HAVING BEEN SHOWN, Defendant Zaid Elodat
 4
     shall be on calendar for bail review before this Court on
 5

 6   November 17, 2015 at 10:00 a.m.           Furthermore, counsel for
 7   Defendant shall appear telephonically.
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     IT IS SO ORDERED.

11   Dated: November 16, 2015
                                      SENIOR DISTRICT JUDGE
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Case 1:15-cr-00286-ADA-BAM Document 85 Filed 11/16/15 Page 6 of 7
Case 1:15-cr-00286-ADA-BAM Document 85 Filed 11/16/15 Page 7 of 7
